                        MEMORANDUM CASES.
THE COURT.
Upon examination of the record in this case we are satisfied that the trial court was in error as to each of the two main questions presented upon this appeal. We are further satisfied that a practically parallel situation is presented upon this appeal as that presented and considered by the district court of appeal in and for the third appellate district in the cases ofCalifornia Credit  Collection Corp. v. Randall (Cal.App.),244 P. 958, California Credit  Collection Corp. v. Goodin
(Cal.App.), 246 P. 121, and California Credit  CollectionCorp. v. Carpenter (Cal.App.), 246 P. 126.
In the latter two of the above cases a petition for hearing in this court was denied. Upon the authority of these cases the judgment herein is reversed. *Page 781 